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                                                                                         March 6, 2021
Chief Judge Colleen McMahon
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St., New York, NY 10007-1312

By Electronic Filing.

        Re:     In Re: New York City Policing During Summer 2020 Demonstrations,
                20 Civ. 8924 (CM)(GWG)

Dear Chief Judge McMahon:

      My firm is one of the firms representing the plaintiffs and the putative class in Sow v. City of
New York (20-cv-533), as part of the consolidated docket above.

          The Court has directed that “[a]ll filings must be made under Docket No. 20 Civ. 8924” (ECF
No. 39 at 3), but the electronic filing system does not allow us to use the appropriate event to file an
amended complaint. Thus, filed as an exhibit to this letter is a copy of the Amended Complaint, which
we also just filed on the Sow docket (Sow, ECF No. 49). Should the Court prefer we handle ensuring
all filings appear on this docket in some other way, we will be happy to do so.

        As always, we thank the Court for its time and consideration.


                                                        Respectfully submitted,

                                                             /s/
                                                        _________________
                                                        J. Remy Green
                                                            Honorific/Pronouns: Mx., they/their/them
                                                        COHEN&GREEN P.L.L.C.
                                                        Attorneys for Sow Plaintiffs
                                                        1639 Centre St., Suite 216
                                                        Ridgewood, New York 11385
Enclosure.

cc:
All relevant parties by electronic filing.
